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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No: 1:11-cr-9

v                                                            HON. JANET T. NEFF

JOSEPH DAVID JOHNSON,

               Defendant.
                                          /


                ORDER ADOPTING REPORT AND RECOMMENDATION

        The Court has reviewed the Report and Recommendation dated May 12, 2011 filed by the

United States Magistrate Judge in this action. The Report and Recommendation was duly served

on the parties, and no objection has been made thereto within the time required by law.

        THEREFORE, IT IS ORDERED that:

        1. The Report and Recommendation of the Magistrate Judge (Dkt 48) is approved and

adopted as the opinion of the Court.

        2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count Two of the Indictment.

        3. The written plea agreement is hereby continued under advisement pending sentencing.


Dated: May 31, 2011                            /s/Janet T. Neff
                                              JANET T. NEFF
                                              UNITED STATES DISTRICT JUDGE
